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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

                             :
STEPHAN CLARK,               : Civil Action No.: ___________
                             :
          Plaintiff,         :
                             :
      v.                     :
                             :           CLASS ACTION COMPLAINT
SAMSUNG ELECTRONICS AMERICA, :
INC.,                        :
                             :
          Defendants.        :

           Plaintiff, Stephan Clark, individually and on behalf of all others similarly situated, brings

this class action against Samsung Electronics America, Inc. (“Samsung” or the “Defendant”).

Plaintiff makes the following allegations, except as to allegations specifically pertaining to

Plaintiff, upon information and belief based upon, inter alia, the investigation of counsel, and

review of public documents.

                                     NATURE OF THE ACTION

           1.     Plaintiff brings this action on behalf of a Nationwide Class and a Michigan Sub-

Class (together, the “Classes”) against Defendant due to its failure to protect the sensitive and

confidential Personally Identifiable Information of millions of customers—including first and



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last names, dates of birth, postal addresses, precise geolocation data, email addresses, and

telephone numbers. Defendant’s wrongful disclosure has harmed Plaintiff and the Classes, which

includes millions of people.

                                 JURISDICTION AND VENUE

           2.   This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

U.S.C. § 1332(d) in that: (1) this is a class action involving more than 1,000 class members; (2)

minimal diversity is present as Plaintiff is a citizen of Michigan (and the proposed Class

members are from various states) while Defendant is a citizen of New York and New Jersey; and

(3) the amount in controversy exceeds the sum of $5,000,000, exclusive of interest and costs.

           3.   This Court has personal jurisdiction over Defendant because it is headquartered in

New Jersey; the wrongful acts alleged in this Complaint were committed in New Jersey, among

other venues; and Defendant has intentionally availed itself of this jurisdiction by marketing and

selling its products and services in New Jersey.

           4.   Venue is proper in this District pursuant to: (1) 28 U.S.C. § 1391(b)(2) in that a

substantial part of the events or omissions giving rise to Plaintiff’s claims occurred in this

District, and 28 U.S.C. § 1391(d) because the transactions giving rise to Plaintiff’s claims

occurred in New Jersey; and (2) 28 U.S.C. § 1391(b)(3) in that Defendant is subject to personal

jurisdiction in this District.

                                             PARTIES

                                          Stephan Clark

           5.   Plaintiff Stephan Clark is a citizen and resident of the State of Michigan and is a

current Samsung customer. Plaintiff Clark was notified by Samsung that his Personally

Identifiable Information was compromised in the Samsung data breach.




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           6.    Plaintiff purchased two Samsung Galaxy S7 cell phones in or about June 2016

and registered both devices with Defendant. Both devices were also covered by Samsung’s

Manufacturer’s warranty.

           7.    Plaintiff also purchased two Samsung Galaxy watches in or about November

2021 and registered both devices with Defendant. Both devices are also currently covered by

Samsung’s Manufacturer’s warranty.

           8.    Plaintiff also uses an application, made available by Defendant for use on the

Galaxy watches, to monitor personal and confidential health information.

           9.    Samsung’s warranty, as well as any policies governing the operating systems of

the products purchased by Plaintiff, were presented to him on a take-it-or-leave-it basis, and

reading those policies was neither required to use those products, nor were those policies made

available to Plaintiff prior to his purchase of those products.

           10.   On or about September 2, 2022, Plaintiff Clark, and the public, were first notified

of the data breach by Samsung and that cybercriminals had illegally accessed and stolen

confidential customer data from millions of Samsung customers’ accounts. In addition, Plaintiff

Clark received an e-mail on September 2, 2022 from Samsung notifying Plaintiff that his

Personally Identifiable Information was among the confidential data that cybercriminals illegally

accessed and stole from Samsung’s servers.

           11.   As a direct and proximate result of the breach, Plaintiff Clark has made

reasonable efforts to mitigate the impact of the breach, including but not limited to: conducting

research concerning this data breach; discussing the breach with his family; reviewing credit

reports and financial account statements for any indication of actual or attempted identity theft or




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fraud; and freezing his credit report. This is valuable time Plaintiff Clark otherwise could have

spent on other activities.

           12.   Plaintiff Clark is very concerned about identity theft as well as the consequences

of such identity theft and fraud resulting from the data breach.

           13.   Plaintiff Clark suffered actual injury from having his Personally Identifiable

Information compromised as a result of the data breach including, but not limited to (a) damage

to and diminution in the value of his Personally Identifiable Information, a form of property that

Samsung obtained from Plaintiff; (b) violation of Plaintiff’s privacy rights; and (c) present and

increased risk arising from the identity theft and fraud.

           14.   Plaintiff Clark has received an increased number of phishing emails and spam

telephone calls since July 2022. Such emails and calls trick consumers into providing sensitive

and valuable personal information to scammers and, in turn, increases the risk of Plaintiff

suffering from monetary or identity theft.

           15.   Plaintiff Clark has and will spend a significant amount of time responding to the

impacts of the data breach. The time spent dealing with the fallout from the data breach is time

Plaintiff otherwise would have spent on other activities.

           16.   As a result of the data breach, Plaintiff Clark anticipates spending considerable

time and money on an ongoing basis to try to mitigate and address harms caused by the data

breach. As a result of the data breach, Plaintiff is and will continue to be at increased risk of

identity theft and fraud for years to come.

                                              Samsung

           17.   Samsung is a New York corporation with its American headquarters and principal

place of business located at 85 Challenger Road, Ridgefield, New Jersey 07660-2118.




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                                   FACTUAL BACKGROUND

           18.   Samsung is “recognized globally as an industry leader in technology.”1 It has

millions of customers, has an estimated brand value of approximately $45.5 billion, and produces

over $200 billion in revenue each year.2

           19.   Samsung manufactures a wide range of consumer and industrial electronic

products such as televisions and home appliances (air conditioners, washer and dryers, stoves,

refrigerators and microwave ovens, etc.).3 Samsung’s televisions and home appliances connect to

the Internet4 and require customers to create a “Samsung Account” prior to accessing many of

their devices’ features5.

           20.   For example, consumers who purchase “smart” televisions typically do so

because they want to watch streaming applications, such as Netflix or Hulu, on their televisions

rather than on separate devices.6 Although Samsung advertises that their smart televisions allows

owners to have streaming applications at their “fingertips,”7 an owner of a Samsung smart

television cannot access those streaming applications without downloading those applications




1
  https://www.samsung.com/levant/about-us/company-info/ (last accessed Sept. 19, 2022).
2
  MirrorMeister, https://www.mirrormeister.com/samsung-revenue-productions-stats/ (last
accessed Sept. 19, 2022).
3
  https://www.samsung.com/us/ (last accessed Sept. 19, 2022).
4
  Samsung Privacy Policy for the U.S., https://www.samsung.com/us/account/privacy-
policy/#:~:text=Our%20Services%20collect%20some%20data,web%20beacons%2C%20and%2
0other%20technologies (last accessed Sept. 19, 2022).
5
  Al Griffin, Samsung’s data breach is why you shouldn’t have to sign in to smart TVs,
https://www.techradar.com/opinion/samsungs-data-breach-is-why-you-shouldnt-have-to-sign-in-
to-smart-tvs (Sept. 10, 2022).
6
  See https://www.samsung.com/us/tvs/smart-tv/highlights/ (last accessed Sept. 19, 2022);
https://www.samsung.com/us/tvs/smart-tv/samsung-tv-plus-and-smart-hub/ (last accessed Sept.
19, 2022).
7
  https://www.samsung.com/us/tvs/smart-tv/highlights/ (last accessed Sept. 19, 2022).


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onto their television.8 But, in order to download those applications, the Samsung smart television

owner must create a Samsung Account first.9

           21.     Samsung also produces smart phones, smart watches, and tablets, and offers

applications (“apps”) for those devices. Samsung’s apps include, but are not limited to, Samsung

Health, Samsung Cloud, and Samsung Pay.10 In order to access the features of these devices and

apps, Samsung requires customers to create a Samsung Account.

           22.     A “Samsung Account” is the “gateway to the World of Samsung.”11 A Samsung

Account allows customers to not only access certain features that improve the usability of the

device, but a Samsung Account also provides device-related benefits that only customers with a

Samsung Account can access. Those benefits include, but are not limited to, backing up and

syncing data, finding a device when it is lost, device support, coupons and discounts, and order

tracking.12

                 Samsung Collects Its Customers’ Personally Identifiable Information
                                 Because It Is Valuable to Samsung
           23.     Plaintiff and other proposed Class Members were required, as current and

prospective customers of Samsung, to provide Samsung with sensitive Personally Identifiable

Information to purchase or receive Samsung’s devices and services.




8
  Al Griffin, Samsung’s data breach is why you shouldn’t have to sign in to smart TVs,
https://www.techradar.com/opinion/samsungs-data-breach-is-why-you-shouldnt-have-to-sign-in-
to-smart-tvs (Sept. 10, 2022).
9
  Id.
10
   https://www.samsung.com/us/support/answer/ANS00078945/ (last accessed Sept. 19, 2022).
11
   https://account.samsung.com/membership/intro (last accessed Sept. 19, 2022).
12
   See https://www.samsung.com/us/samsung-account-benefits/ (last accessed Sept. 19, 2022);
https://account.samsung.com/membership/policy/privacy (last accessed Sept. 19, 2022).


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           24.       When a customer purchases a Samsung product, creates a Samsung Account, or

registers for or uses a Samsung service, the customer may provide Samsung with Personally

Identifiable Information such as:

                    name;

                    email address;

                    postal address;

                    phone number;

                    payment card information (including name, card number, expiration date, and

                     security code);

                    date of birth;

                    gender;

                    information stored in or associated with the customer’s Samsung Account,

                     including the customer’s Samsung Account profile, ID, username, and password;

                    username and password for participating third-party devices, apps, features, or

                     services;

                    information a customer stores on a Samsung device, such as photos, contacts, text

                     logs, touch interactions, settings, and calendar information;

                    recordings of a customer’s voice when they use voice commands to control a

                     service or contact Samsung’s Customer Service team; and

                    location data, including (1) the precise geolocation of a customer’s device if they

                     consent to the collection of this data and (2) information about nearby Wi-Fi




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                     access points and cell towers that may be transmitted to Samsung when the

                     customer uses certain Services.13

           25.       Samsung also collects information automatically from its customers concerning

their Samsung devices such as their mobile network operator; connections to other devices; app

usage information; device settings; web sites visited; search terms used; the apps, services, or

features a customer downloads or purchases; and how and when those services are used.14

           26.       Samsung uses the information that it obtains directly from customers and that it

collects automatically to:

                    “[O]perate, evaluate, and improve our business, including developing new

                     products and services, managing our communications, analyzing our Services and

                     customer base, conducting market research, aggregating and anonymizing data,

                     performing data analytics, and undertaking accounting, auditing, and other

                     internal functions”;

                    Communicate with its customers; and

                    “[P]rovide ads, which may include targeted (or interest-based) ads delivered on

                     your Samsung device or within certain Samsung-branded apps.”15

           27.       The Personally Identifiable Information that Samsung collects from its customers

is valuable to Samsung. Indeed, Samsung acknowledges this information “plays a key role in

elevating what we do for our community” and that it “engage[s] with [Personally Identifiable


13
   Samsung Privacy Policy for the U.S., https://www.samsung.com/us/account/privacy-
policy/#:~:text=Our%20Services%20collect%20some%20data,web%20beacons%2C%20and%2
0other%20technologies (last accessed Sept. 19, 2022).
14
   Id.
15
   Id.; see also https://www.samsung.com/us/account/our-approach-to-privacy/ (“We use the data
we collect to learn about what products and services our customers use and like, and where we
can improve.”).


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Information] to inform and enhance everything from your experience to our communication, and

to create and innovate radical solutions that help you overcome barriers.”16

           28.       Samsung is also aware that its customers value their own Personally Identifiable

Information. Samsung acknowledges that its customers “own” their “privacy”17 and recognizes

“the importance [customers] place on the value of [their] privacy”18.

           29.       Because Personally Identifiable Information is valuable to Samsung’s customers,

Samsung made multiple promises so as to alleviate concerns any customers may have about

providing Samsung with this sensitive information.

           30.       Samsung promised its customers that:

                    its devices and services are “designed with privacy and security at top mind”;19

                    it “take[s] data security very seriously”;20

                    it is “committed” to handling its customers Personally Identifiable Information;21

                    it “maintain[s] safeguards designed to protect personal information [Samsung]

                     obtain[s]”;22

                    “security and privacy are at the core of what [Samsung] do[es] and what [it]

                     think[s] about every day”23;

                    it has “industry-leading security”24;




16
   https://www.samsung.com/us/privacy/ (last accessed Sept. 20, 2022).
17
   Id.
18
   https://www.samsung.com/us/account/our-approach-to-privacy/ (last accessed Sept. 20, 2022).
19
   https://www.samsung.com/us/account/our-approach-to-privacy/ (last accessed Sept. 20, 2022).
20
   https://www.samsung.com/us/privacy/ (last accessed Sept. 20, 2022).
21
   Id.
22
   https://www.samsung.com/us/account/privacy-policy/ (last accessed Sept. 20, 2022).
23
   https://security.samsungmobile.com/main.smsb (last accessed Sept. 20, 2022).
24
   Id.


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                    it “prioritize[s]” protecting customers’ Personally Identifiable Information25

                     through certain security measures26; and

                    it takes “a holistic approach to security to ensure that, at all levels of the device,

                     [it is] protecting users’ security and privacy at all times.”27

           31.       Moreover, the Federal Trade Commission (“FTC”) has established security

guidelines and recommendations for businesses that possess their customers’ sensitive personally

identifiable information to reduce the likelihood of data breaches like Samsung.28 Among such

recommendations are: limiting the sensitive consumer information kept; encrypting sensitive

information sent to third parties or stored on computer networks; and identifying and

understanding network vulnerabilities.

           32.       Samsung, thus, had obligations—created by contract, industry standards, common

law, and its representations to its customers like Plaintiff and other Class Members—to keep this

Personally Identifiable Information confidential and to protect it from unauthorized disclosures.

Plaintiff and Class Members provided this Personally Identifiable Information to Samsung with

the understanding that Samsung would comply with its own representations as well as its

obligations to keep such information confidential and secure from unauthorized disclosures.

           33.       While Samsung has enriched itself through the collection of a treasure trove of

information about Plaintiff and Class Members, and profited off its collection of that




25
   Id.
26
   https://sdapla.privacy.samsung.com/privacy/br/anonymous/faq.do (last accessed Sept. 20,
2022).
27
   https://security.samsungmobile.com/main.smsb (last accessed Sept. 20, 2022).
28
    See Federal Trade Commission, Protecting Personal Information: A Guide for Business (Oct.
2016), available at https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_
proteting-personal-information.pdf (last visited Sept. 19, 2022).


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information, Samsung failed to employ reasonable, accepted safety measures to secure that

valuable information.

                                         The Data Breach

           34.   On September 2, 2022, the Friday before Labor Day, Samsung released a

statement announcing that its “U.S. systems” had been infiltrated “[i]n late July 2022” by “an

unauthorized third party” that then stole Personally Identifiable Information that Plaintiff and

other putative Class Members had entrusted to Samsung.29

           35.   According to Samsung, the data breach may have affected customers’ Personally

Identifiable Information such as name, contact and demographic information, date of birth, and

product registration information.30 However, Samsung claims “[t]he information affected for

each relevant customer may vary.”31

           36.   Samsung claims it did not discover the data breach until “[o]n or around August

4, 2022” after an “ongoing investigation.”32

           37.   As of September 2, 2022, Samsung was in the process of notifying affected

customers of the data breach.33

           38.   Although Samsung touts that it “always aim[s] to do the right thing by being open

and honest with [its] customers,”34 Samsung did not release a statement to affected customers

until almost a month after learning of the data breach.




29
   Samsung, Security Response Center,
https://www.samsung.com/us/support/securityresponsecenter/ (last accessed Sept. 19, 2022).
30
   Id.
31
   Id.
32
   Id.
33
   Id.
34
   Samsung, Brand Story, https://www.samsung.com/levant/about-us/brand-identity/brand-story/
(last accessed Sept. 19, 2022).


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           39.   Samsung’s statement also was not transparent. The statement did not explain how

the data breach occurred, how Samsung discovered the data breach, what Samsung systems were

affected, why it took over a month for Samsung to reveal the data breach occurred, the number

of Samsung customers that were affected, whether the customers affected were businesses or

consumers, what prompted the “ongoing investigation,” how long the investigation had been

ongoing, or the extent of the Personally Identifiable Information stolen.

           40.   Chris Clements, Vice President of Solutions Architecture at Cerberus Sentinel, a

provider of cybersecurity and compliance services, commented on Samsung’s statement

announcing the data breach that: “The lack of transparency on the number of individuals

impacted as well as the delay in notifying them combined with a late Friday holiday weekend

release seem like clear attempts to minimize the incident.”35

           41.   Plaintiff and Class Members have been injured by the disclosure of their

Personally Identifiable Information in Samsung’s data breach.

           42.   The exposure of Plaintiff’s and Class Members’ names, dates of birth, contact and

demographic information, and product registration information increases their risk exponentially

for precision spearphishing attacks, engineered SIM swaps, and the threat of credit and loans

being taken out in their names.36

           43.   One of the most concerning aspects of the Samsung Data Breach is the fact that

the hackers stole “demographic information” from Samsung. Samsung says is collects




35
   Allen Bernard, Impact of Samsung’s most recent data breach unknown (Sept. 9, 2022),
https://www.techrepublic.com/article/samsung-data-breach/ (last accessed Sept. 19, 2022).
36
   David Rutland, Samsung Suffers Another Massive Data Breach: Should You Be Worried?
(Sept. 3, 2022), https://www.makeuseof.com/samsung-data-breach-should-you-worry/ (last
accessed Sept. 19, 2022).


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demographic information to “help deliver the best experience possible with our products and

services” (or to target specific advertising to consumers).37

           44.    Samsung’s U.S. privacy policy explains this more explicitly: “Ad networks allow

us to target our messaging to users considering demographic data, users’ inferred interests, and

browsing context. These networks can track users’ online activities over time by collecting

information through automated means, including through the use of browser cookies, web

beacons, pixels, device identifiers, server logs, and other similar technologies.”38

           45.    While Samsung has thus far refused to reveal what specific demographic data was

stolen, TechCrunch examined Samsung’s policies and concluded that this data might include:

           technical information about your phone or other device, how you use your device, like
           which apps you have installed and which websites you visit, and how you interact with
           ads, which are used by advertisers and data brokers to infer information about you. The
           data can also include your “precise geolocation data,” which can be used to identify
           where you go and who you meet with. Samsung says it collects information about what
           you watch on its smart TVs, including which channels and programs you’ve watched.

           Samsung also says it “may obtain other behavioral and demographic data from trusted
           third-party data sources,” which means Samsung buys data from other companies and
           combines it with its own stores of customer information to learn more about you, again
           for targeted advertising. Samsung would not say which companies, such as data brokers,
           it obtains this data from.[39]

                                 Samsung Has a History of Breaches

           46.    This is not Samsung’s first data breach in 2022. Accordingly, Samsung should

have been particularly aware of the vulnerability of its security systems.




37
   See n. 21 supra.
38
   Id.
39
   Zack Whittaker, Parsing Samsung’s Data Breach Notice, (September 6, 2022),
https://techcrunch.com/2022/09/06/parsing-samsung-july-breach-notice/ (last accessed
September 22, 2022).


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           47.   On March 7, 2022, Samsung announced it had suffered a data breach that exposed

internal company data, 40 including the source code related to its Galaxy smartphones,

algorithms related to Samsung smartphone biometric authentication, bootloader source code to

bypass some of Samsung’s operating systems controls, source code for Samsung’s activation

servers, and full source for technology used for authorizing and authenticating Samsung

accounts.41

           48.   The company claimed the data breach did not include the personal information of

consumers or employees.

           49.   The incident came to light after LAPSUS$, a hacking group, leaked 190GB of

Samsung’s data to four hundred (400) peers.42

           50.   Following the data breach, Samsung promised it would “implement[] measures to

prevent further such incidents and will continue to serve our customers without disruption.”43

           51.   It is possible that the data breach that Samsung announced on September 2, 2022

could be a continuation of the March 7, 2022 data breach.

           52.   “Given the difficulty of completely eliminating malware once it has infiltrated a

corporate network, especially one as large and complex as Samsung’s, the latest incident could




40
   Vlad Savov & Heejin Kim, Samsung Says Hackers Breached Company Data, Galaxy Source
Code (Mar. 7, 2022), Samsung Says Hackers Breached Company Data, Galaxy Source Code -
Bloomberg, (last accessed Sept. 19, 2022).
41
   Ionut Ilascu, Hackers leak 190GB of alleged Samsung data, source code (Mar. 4, 2022)
Hackers leak 190GB of alleged Samsung data, source code (bleepingcomputer.com) (last
accessed Sept. 19, 2022).
42
   Id.
43
   Vlad Savov & Heejin Kim, Samsung Says Hackers Breached Company Data, Galaxy Source
Code (Mar. 7, 2022), Samsung Says Hackers Breached Company Data, Galaxy Source Code -
Bloomberg, (last accessed Sept. 19, 2022).


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well be a continuation of the March hack,” said Chad McDonald, CISO of Radiant Logic, an

identity and access management vendor.44

           53.    McDonald further stated: “The fact that they sat on this for as long as they did

before they did a public disclosure … implies to me they were less concerned about urgency.

This makes me feel like this was quite likely just a continuation of [the former breach] they just

hadn’t discovered yet.”45

           54.    Samsung’s repeated security failures demonstrate that it failed to honor their

duties and promises by not, among other things: maintaining an adequate data security system to

reduce the risk of data breaches and cyber-attacks; adequately protecting Plaintiff’s and the

Classes’ Personally Identifiable Information; and failing to reasonably limit the sensitive

consumer information kept, in violation of FTC recommendations.

                                      CLASS ALLEGATIONS

           55.    In accordance with Federal Rules of Civil Procedure 23(b)(2) and (b)(3), Plaintiff

brings this case as a class action on behalf of a Nationwide Class and a Michigan Sub-Class,

defined as follows:

           Nationwide Class: All persons in the United States whose Personally Identifiable
           Information was maintained on the Samsung systems that were compromised as a
           result of the breach announced by Samsung on or around September 2, 2022.

           Michigan Sub-Class: All persons in the State of Michigan whose Personally Identifiable
           Information was maintained on Samsung systems that were compromised as a result of
           the breach announced by Samsung on or around September 2, 2022.

           56.    The Classes are each so numerous that joinder of all members is impracticable.

On information and belief, the Classes each have more than 1,000 members. Moreover, the

44
   Allen Bernard, Impact of Samsung’s most recent data breach unknown (Sept. 9, 2022),
https://www.techrepublic.com/article/samsung-data-breach/ (last accessed Sept. 19, 2022).
45
   Id.


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disposition of the claims of the Classes in a single action will provide substantial benefits to all

parties and the Court.

           57.      There are numerous questions of law and fact common to Plaintiff and Class

Members. These common questions of law and fact include, but are not limited to, the following:

                    a.      Whether Defendant owed Plaintiff and other Class Members a duty to

                 implement and maintain reasonable security procedures and practices to protect their

                 Personally Identifiable Information, and whether it breached that duty;

                    b.      Whether Defendant continues to breach duties to Plaintiff and other Class

                 Members;

                    c.      Whether Defendant’s data security systems prior to the data breach met

                 industry standards;

                    d.      Whether Defendant failed to adequately respond to the data breach,

                 including failing to investigate it diligently and notify affected individuals in the most

                 expedient time possible and without unreasonable delay;

                    e.      Whether Plaintiff and other Class Members’ Personally Identifiable

                 Information was compromised in the data breach; and

                    f.      Whether Plaintiff and other Class Members are entitled to damages as a

                 result of Defendant’s conduct.

           58.      Plaintiff’s claims are typical of the Classes’ claims. Plaintiff suffered the same

injury as Class Members—i.e., Plaintiff’s Personally Identifiable Information was compromised

in the data breach.

           59.      Plaintiff will fairly and adequately protect the interests of the Classes. Plaintiff

has retained competent and capable attorneys with significant experience in complex and class




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action litigation, including data breach class actions. Plaintiff and his counsel are committed to

prosecuting this action vigorously on behalf of the Classes and have the financial resources to do

so. Neither Plaintiff nor his counsel has interests that are contrary to or that conflict with those of

the proposed Classes.

           60.   Defendant has engaged in a common course of conduct toward Plaintiff and other

Class Members. The common issues arising from this conduct that affect Plaintiff and other

Class Members predominate over any individual issues. Adjudication of these common issues in

a single action has important and desirable advantages of judicial economy.

           61.   A class action is the superior method for the fair and efficient adjudication of this

controversy. In this regard, the Class Members’ interests in individually controlling the

prosecution of separate actions are low given the magnitude, burden, and expense of individual

prosecutions against large corporations such as Defendant. It is desirable to concentrate this

litigation in this forum to avoid burdening the courts with individual lawsuits. Individualized

litigation presents a potential for inconsistent or contradictory judgments, and also increases the

delay and expense to all parties and the court system presented by the legal and factual issues of

this case. By contrast, the class action procedure here will have no management difficulties.

Defendant’s records and the records available publicly will easily identify the Class Members.

The same common documents and testimony will be used to prove Plaintiff’s claims

           62.   A class action is appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant

has acted or refused to act on grounds that apply generally to Class Members, so that final

injunctive relief or corresponding declaratory relief is appropriate as to all Class Members.




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                                 FIRST CLAIM FOR RELIEF
                                             Negligence
                   On behalf of Plaintiff, the Class, and the Michigan Subclass

           63.   Plaintiff realleges and incorporates by reference all preceding factual allegations

found in paragraphs 1 through 62.

           64.   To access features of the devices, apps, or services Plaintiff and Class Members

purchased, Samsung required Plaintiff and Class Members to submit non-public Personally

Identifiable Information to obtain these features.

           65.   By collecting and storing this data, and sharing it and using it for commercial

gain, Defendant both had a duty of care to use reasonable means to secure and safeguard this

Personally Identifiable Information, to prevent disclosure of the information, and to guard the

information from theft.

           66.   Defendant’s duty included a responsibility to implement a process by which it

could detect a breach of its security systems in a reasonably expeditious period of time and to

give prompt notice to those affected in the case of a data breach.

           67.   Defendant also owed a duty of care to Plaintiff and members of the Classes to

provide security consistent with industry standards and the other requirements discussed herein,

and to ensure that its systems and networks—and the personnel responsible for them—

adequately protected Defendant’s customers’ Personally Identifiable Information.

           68.   Defendant’s duty to use reasonable security measures arose as result of the special

relationship that existed between it and its customers. Only Defendant was in a position to ensure

that its systems were sufficient to protect against the harm to Plaintiff and the members of the

Classes from a data breach.




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           69.      In addition, Defendant had a duty to use reasonable security measures under

Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which prohibits “unfair . . .

practices in or affecting commerce,” including, as interpreted and enforced by the FTC, the

unfair practice of failing to use reasonable measures to protect confidential data.

           70.      Defendant’s duty to use reasonable care in protecting confidential data arose not

only as a result of the common law, statutes, and FTC guidance described above, but also

because it is bound by, and has committed to comply with, industry standards for the protection

of confidential Personally Identifiable Information.

           71.      Defendant breached its common law, statutory, and other duties—and thus, was

negligent—by failing to use reasonable measures to protect its customers’ Personally Identifiable

Information, and by failing to provide timely notice of the data breach.

           72.      The specific negligent acts and omissions committed by Defendant include, but

are not limited to, the following:

                    a.      failing to adopt, implement, and maintain adequate security measures to

                 safeguard Plaintiff’s and Class Members’ Personally Identifiable Information;

                    b.      allowing unauthorized access to Plaintiff’s and Class Members’ Personally

                 Identifiable Information;

                    c.      failing to recognize in a timely manner that Plaintiff’s and Class

                 Members’ Personally Identifiable Information had been compromised; and

                    d.      failing to warn Plaintiff and Class Members about the data breach in a

                 timely manner so that they could take appropriate steps to mitigate the potential for

                 identity theft and other damages




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           73.   It was foreseeable that Defendant’s failure to use reasonable measures to protect

Personally Identifiable Information and to provide timely notice of the data breach would result

in injury to Plaintiff and other Class Members. Further, the breach of security, unauthorized

access, and resulting injury to Plaintiff and the members of the Classes were reasonably

foreseeable.

           74.   It was therefore foreseeable that the failure to adequately safeguard Personally

Identifiable Information would result in one or more of the following injuries to Plaintiff and the

members of the proposed Classes: ongoing, imminent, certainly impending threat of identity

theft crimes, fraud, and abuse, resulting in monetary loss and economic harm; actual identity

theft crimes, fraud, and abuse, resulting in monetary loss and economic harm; loss of the

confidentiality of the stolen confidential data; the illegal sale of the compromised data on the

deep web black market; expenses and/or time spent on credit monitoring and identity theft

insurance; time spent scrutinizing bank statements, credit card statements, and credit reports;

expenses or time spent initiating fraud alerts; decreased credit scores and ratings; lost work time;

and other economic and non-economic harm.

           75.   Accordingly, Plaintiff, individually and on behalf of all those similarly situated,

seeks an order declaring that Defendant’s conduct constitutes negligence and awarding damages

in an amount to be determined at trial.

                               SECOND CLAIM FOR RELIEF
                                  Breach of Implied Contract
                   On behalf of Plaintiff, the Class, and the Michigan Subclass

           76.   Plaintiff realleges and incorporates by reference preceding factual allegations

found in paragraphs 1 through 62.




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           77.   When Plaintiff and Class Members paid money and provided their Personally

Identifiable Information to Defendant in exchange for services, they entered into implied

contracts with Defendant pursuant to which Defendant agreed to safeguard and protect such

information and to timely and accurately notify them if their data had been breached and

compromised.

           78.   Defendant solicited and invited prospective and current customers to provide their

Personally Identifiable Information as part of its regular business practices. These individuals

accepted Defendant’s offers and provided their Personally Identifiable Information to Defendant.

In entering into such implied contracts, Plaintiff and Class Members assumed that Defendant’s

data security practices and policies were reasonable and consistent with industry standards, and

that Defendant would use part of the funds received from Plaintiff and the Class Members to pay

for adequate and reasonable data security practices.

           79.   Plaintiff and the Class Members would not have provided and entrusted their

Personally Identifiable Information to Defendant in the absence of the implied contract between

them and Defendant to keep the information secure.

           80.   Plaintiff and the Class Members fully performed their obligations under the

implied contracts with Defendant.

           81.   Defendant breached its implied contracts with Plaintiff and the Class Members by

failing to safeguard and protect their Personally Identifiable Information and by failing to

provide timely and accurate notice that their personal information was compromised as a result

of a data breach.

           82.   As a direct and proximate result of Defendant’s breaches of its implied contracts,

Plaintiff and the Class Members sustained actual losses and damages as described herein.




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                                 THIRD CLAIM FOR RELIEF
                     Breach of Covenant of Good Faith and Fair Dealing
                   On behalf of Plaintiff, the Class, and the Michigan Subclass

           83.   Plaintiff realleges and incorporates by reference preceding factual allegations

found in paragraphs 1 through 62.

           84.   As described above, when Plaintiff and the Class Members provided their

Personally Identifiable Information to Defendant, they entered into implied contracts in which

Defendant agreed to comply with its statutory and common law duties and industry standards to

protect Plaintiff’s and Class Members’ Personally Identifiable Information and to timely detect

and notify them in the event of a data breach.

           85.   These exchanges constituted an agreement between the parties: Plaintiff and Class

Members were required to provide their Personally Identifiable Information in exchange for

products and services provided by Defendants, as well as an implied covenant by Defendant to

protect Plaintiff’s and Class Members’ Personally Identifiable Information in its possession.

           86.   It was clear by these exchanges that the parties intended to enter into an

agreement. Plaintiff and Class Members would not have disclosed their Personally Identifiable

Information to Defendant but for the prospect of Defendant’s promise of certain products and

services. Conversely, Defendant presumably would not have taken Plaintiff’s and Class

Members’ Personally Identifiable Information if it did not intend to provide Plaintiff and Class

Members with the products and services it was offering.

           87.   Implied in these exchanges was a promise by Defendant to ensure that the

Personally Identifiable Information of Plaintiff and Class Members in its possession was only

used to provide the agreed-upon products and services.




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           88.   Plaintiff and Class Members therefore did not receive the benefit of the bargain

with Defendant, because they provided their Personally Identifiable Information in exchange for

Samsung’s implied agreement to keep it safe and secure.

           89.   While Defendant had discretion in the specifics of how it met the applicable laws

and industry standards, this discretion was governed by an implied covenant of good faith and

fair dealing.

           90.   Defendant breached this implied covenant when it engaged in acts and/or

omissions that are declared unfair trade practices by the FTC and state statutes and regulations.

These acts and omissions included: omitting, suppressing, and concealing the material fact of the

inadequacy of the privacy and security protections for Plaintiff’s and Class Members’ Personally

Identifiable Information; storing the Personally Identifiable Information of former customers,

despite any valid purpose for the storage thereof having ceased upon the termination of the

business relationship with those individuals; and failing to disclose to Plaintiff and Class

Members at the time they provided their Personally Identifiable Information to it that

Defendant’s data security systems failed to meet applicable legal and industry standards.

           91.   Plaintiff and Class Members did all or substantially all the significant things that

the contract required them to do.

           92.   Likewise, all conditions required for Defendant’s performance were met.

           93.   Defendant’s acts and omissions unfairly interfered with Plaintiff’s and Class

Members’ rights to receive the full benefit of their contracts.

           94.   Plaintiff and Class Members have been or will be harmed by Defendant’s breach

of this implied covenant in the many ways described above, including actual identity theft and/or

imminent risk of certainly impending and devastating identity theft that exists now that cyber




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criminals have their Personally Identifiable Information, and the attendant long-term expense of

attempting to mitigate and insure against these risks.

           95.    Defendant is liable for its breach of these implied covenants, whether or not it is

found to have breached any specific express contractual term.

           96.    Plaintiff and Class Members are entitled to damages, including compensatory

damages and restitution, declaratory and injunctive relief, and attorney fees, costs, and expenses.

                                FOURTH CLAIM FOR RELIEF
                                         Misrepresentation
                    On behalf of Plaintiff, the Class, and the Michigan Subclass

           97.    Plaintiff realleges and incorporates by reference preceding factual allegations

found in paragraphs 1 through 62.

           98.    Defendant falsely represented to Plaintiff and Class Members that it would take

appropriate and reasonable measures to safeguard their Personally Identifiable Information.

           99.    Plaintiff and Class members reasonably relied upon said representations in that

they provided Defendant their Personally Identifiable Information.

           100.   Defendant’s misrepresentations were material, as Plaintiff and Class Members

would not have chosen to provide their Personally Identifiable Information to Samsung had they

known that the information would be at heightened risk of compromise due to Samsung’s lax

data security.

           101.   As a result of Defendant’s misrepresentations, Plaintiff and the Class Members

have suffered and will continue to suffer injury, ascertainable losses of money or property, and

monetary and non-monetary damages, including from fraud and identity theft; time and expenses

related to monitoring their financial accounts for fraudulent activity; an increased, imminent risk




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of fraud and identity theft; and loss of value of their Personally Identifiable Information, and

thereby suffered ascertainable economic loss.

                                  FIFTH CLAIM FOR RELIEF
                         Violation of the New Jersey Consumer Fraud Act
                                      N.J.S.A. § 56:8-1, et seq.
                                   Plaintiff, on behalf of the Class

           102.   Plaintiff realleges and incorporates by reference preceding factual allegations

found in paragraphs 1 through 62.

           103.   Plaintiff and all Class members are “consumers” as that term is defined by the

New Jersey Consumer Fraud Act, N.J.S.A. 56:8-1.

           104.   The Defendant is a “person” as that term is defined by the New Jersey Consumer

Fraud Act, N.J.S.A. 56:8-1(d).

           105.   Defendant’s conduct as alleged herein related to “sales,” “offers for sale,” or

“bailment” as defined by N.J.S.A. 56:8-1.

           106.   Defendant advertised, offered, or sold goods or services in New Jersey and

engaged in trade or commerce directly or indirectly affecting the citizens of the State of New

Jersey.

           107.   Defendant solicited Plaintiff and Class Members to do business and uniformly

and knowingly misrepresented that by joining, their Personally Identifiable Information was safe,

confidential, and protected from intrusion, hacking, or theft.

           108.   Defendant misrepresented that it would protect the privacy and confidentiality of

Plaintiff’s and Class Members’ Personally Identifiable Information, including by implementing

and maintaining reasonable security measures.

           109.   Defendant intended to mislead Plaintiff and Class Members and induce them to

rely on their misrepresentations and omissions.


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           110.   Defendant failed to implement and maintain reasonable security and privacy

measures to protect Plaintiff and Class Members’ Personally Identifiable Information in violation

of N.J.S.A. 56:8-162, which was a direct and proximate cause of the Data Breach.

           111.   Defendant failed to provide notice to Plaintiff and Class Members or otherwise

comply with the notice requirements of N.J.S.A. 56:8-163.

           112.   Defendant’s acts and omissions, as set forth herein, evidence a lack of good faith,

honesty in fact and observance of fair dealing, so as to constitute unconscionable commercial

practices, in violation of N.J.S.A. 56:8-2.

           113.   As a direct and proximate result of Defendant’s unfair and deceptive acts and

practices, Plaintiff and Class Members are required to expend sums to protect and recover their

Personally Identifiable Information, have suffered and will continue to suffer injury,

ascertainable losses of money or property, and monetary and non-monetary damages, including

from fraud and identity theft; time and expenses related to monitoring their financial accounts for

fraudulent activity; an increased, imminent risk of fraud and identity theft; and loss of value of

their Personally Identifiable Information, and thereby suffered ascertainable economic loss.

           114.   Plaintiff and Class Members seek all monetary and non-monetary relief allowed

by law, including damages, disgorgement, injunctive relief, and attorneys’ fees and costs.

                                   SIXTH CLAIM FOR RELIEF
                      Violation of the Michigan Identity Theft Protection Act
                             Mich. Comp. Laws Ann. §§ 445.72, et seq.
                            Plaintiff, on behalf of the Michigan Subclass

           115.   Plaintiff realleges and incorporates by reference preceding factual allegations

found in paragraphs 1 through 62.

           116.   Samsung is a business that owns or licenses computerized data that includes

Personally Identifiable Information (“PII”) as defined by Mich. Comp. Laws Ann. § 445.72(1).



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           117.   Plaintiff’s and Michigan Subclass Members’ personal information includes PII as

covered under Mich. Comp. Laws Ann. § 445.72(1).

           118.   Samsung is required to accurately notify Plaintiff and Michigan Subclass

Members if it discovers a security breach, or receives notice of a security breach (where

unencrypted and unredacted PII was accessed or acquired by unauthorized persons), without

unreasonable delay under Mich. Comp. Laws Ann. § 445.72(1).

           119.   Because Samsung discovered a security breach and had notice of a security

breach (where unencrypted and unredacted PII was accessed or acquired by unauthorized

persons), Samsung had an obligation to disclose the Samsung data breach in a timely and

accurate fashion as mandated by Mich. Comp. Laws Ann. § 445.72(4).

           120.   By failing to disclose the Samsung data breach in a timely and accurate manner,

Samsung violated Mich. Comp. Laws Ann. § 445.72(4).

           121.   As a direct and proximate result of Samsung’s violations of Mich. Comp. Laws

Ann. § 445.72(4), Plaintiff and Michigan Subclass Members suffered damages, as described

above.

           122.   Plaintiff and Michigan Subclass Members seek relief under Mich. Comp. Laws

Ann. § 445.72(13), including a civil fine.

                                SEVENTH CLAIM FOR RELIEF
                        Violation of the Michigan Consumer Protection Act
                            Mich. Comp. Laws Ann. §§ 445.903, et seq.
                            Plaintiff, on behalf of the Michigan Subclass

           123.   Plaintiff realleges and incorporates by reference preceding factual allegations

found in paragraphs 1 through 62.

           124.   Samsung and Michigan Subclass Members are “persons as defined by Mich.

Comp. Laws Ann. § 445.903(d).



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           125.    Samsung advertised, offered, or sold goods or services in Michigan and engaged

in trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.

Comp. Laws Ann. § 445.903(g).

           126.    Samsung engaged in unfair, unconscionable, and deceptive practices in the

conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:

                   a.      representing that its goods and services have characteristics, uses, and

           benefits that they do not have;

                   b.      representing that its goods and services are of a particular standard or

           quality if they are of another;

                   c.      failing to reveal a material fact, the omission of which tends to mislead or

           deceive the consumer, and which fact could not reasonably be known by the consumer;

                   d.      making a representation or statement of fact material to the transaction

           such that a person reasonably believes the represented or suggested state of affairs to be

           other than it actually is; and

                   e.      failing to reveal facts are material to the transaction in light of

           representations of fact made in a positive matter.

           127.    Samsung’s unfair, unconscionable, and deceptive practices include:

                   a.      failing to implement and maintain reasonable security and privacy

           measures to protect Plaintiff’s and Michigan Subclass Members’ PII, which was a direct

           and proximate cause of the data breach;

                   b.      failing to identify and remediate foreseeable security and privacy risks and

           adequately improve security and privacy measures despite knowing the risks of

           cybersecurity incidents, which was a direct and proximate cause of the data breach;




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                  c.      failing to comply with common law and statutory duties pertaining to the

           security and privacy of Plaintiff’s and Michigan Subclass Members’ PII, including duties

           imposed by the FTC Act, 15 U.S.C. § 45, which was a direct and proximate cause of the

           data breach;

                  d.      misrepresenting that they would protect the privacy and confidentiality of

           Plaintiff’s and Michigan Subclass Members’ PII, including by implementing and

           maintaining reasonable security measures;

                  e.      misrepresenting that they would comply with common law and statutory

           duties pertaining to the security and privacy of Plaintiff’s and Michigan Subclass

           Members’ PII, including duties imposed by the FTC Act, 15 U.S.C. § 45;

                  f.      Omitting, suppressing and concealing the material fact that it did not

           reasonably or adequately secure Plaintiff’s and Michigan Subclass Members’ PII; and

                  g.      Omitting, suppressing, and concealing the material fact that it did not

           comply with common law and statutory duties pertaining to the security and privacy of

           Plaintiff’s and Michigan Subclass Members’ PII, including duties imposed by the FTC

           Act, 15 U.S.C. § 45.

           128.   Samsung’s representations and omissions were material because they were likely

to deceive reasonable consumers about the adequacy of Samsung’s data security and ability to

protect the confidentiality of consumers’ PII.

           129.   Samsung intended to mislead Plaintiff and Michigan Subclass Members and

induce them to rely on its misrepresentations and omissions.

           130.   Samsung acted intentionally, knowingly, and maliciously to violate Michigan’s

Consumer Protection Act, and recklessly disregarded Plaintiff and Michigan Subclass Members’




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rights. Samsung’s March 2022 data breach put it on notice that its security and privacy

protections were inadequate.

           131.   As a direct and proximate result of Samsung’s unfair, unconscionable, and

deceptive practices, Plaintiff and Michigan Subclass Members have suffered and will continue to

suffer injury, ascertainable losses of money or property, and monetary and non-monetary

damages, as described herein, including but not limited to fraud and identity theft; time and

expenses related to monitoring their financial accounts for fraudulent activity; an increased,

imminent risk of fraud and identity theft; loss of value of their PII; overpayment for Samsung’s

services; loss of the value of access to their PII; and the value of identity protection services

made necessary to the Breach.

           132.   Plaintiff and Michigan Subclass Members seek all monetary and on-monetary

relief allowed by law, including the greater of actual damages or $250, injunctive relief, and any

other relief that is just and proper.

                                 EIGHTH CLAIM FOR RELIEF
                                 Declaratory and Injunctive Relief
                                  Plaintiff, on behalf of the Class

           133.   Plaintiff realleges and incorporates by reference all preceding paragraphs as found

in paragraphs 1 through 62.

           134.   This Count is brought under the federal Declaratory Judgment Act, 28 U.S.C. §

2201.

           135.   As previously alleged, Plaintiff and Class Members entered into an implied

contract that required Defendant to provide adequate security for the Personally Identifiable

Information it collected from Plaintiff and Class Members.




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           136.   Defendant owes a duty of care to Plaintiff and Class Members requiring it to

adequately secure their Personally Identifiable Information.

           137.   Defendant still possesses Plaintiff’s and Class Members’ Personally Identifiable

Information.

           138.   Since the Data Breach, Defendant has announced few, if any, changes to its data

security infrastructure, processes, or procedures to fix the vulnerabilities in its computer systems

and/or security practices which permitted the Data Breach to occur and, thereby, prevent future

attacks.

           139.   Defendant has not satisfied its contractual obligations and legal duties to Plaintiff

and Class Members. In fact, now that Defendant’s insufficient data security is known to hackers,

the Personally Identifiable Information in Defendant’s possession is even more vulnerable to

cyberattack.

           140.   Actual harm has arisen in the wake of the Data Breach regarding Defendant’s

contractual obligations and duties of care to provide security measures to Plaintiff and Class

Members. Further, Plaintiff and Class Members are at risk of additional or further harm due to

the exposure of their Personally Identifiable Information and Defendant’s failure to address the

security failings that led to such exposure.

           141.   There is no reason to believe that Defendant’s security measures are any more

adequate now than they were before the Data Breach to meet Defendant’s contractual obligations

and legal duties.




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           142.   Plaintiff, therefore, seek a declaration (1) that Defendant’s existing security

measures do not comply with its contractual obligations and duties of care to provide adequate

security, and (2) that to comply with its contractual obligations and duties of care, Defendant

must implement and maintain reasonable security measures, including, but not limited to:

                  a.      Ordering that Defendant engage third-party security auditors/penetration

           testers as well as internal security personnel to conduct testing, including simulated

           attacks, penetration tests, and audits on Defendant’s systems on a periodic basis, and

           ordering Defendant to promptly correct any problems or issues detected by such third-

           party security auditors;

                  b.      Ordering that Defendant engage third-party security auditors and internal

           personnel to run automated security monitoring;

                  c.      Ordering that Defendant audit, test, and train its security personnel

           regarding any new or modified procedures;

                  d.      Ordering that Defendant segment data by, among other things, creating

           firewalls and access controls so that if one area of Defendant’s systems is compromised,

           hackers cannot gain access to other portions of Defendant’s systems;

                  e.      Ordering that Defendant purge, delete, and destroy in a reasonably secure

           manner customer data not necessary for its provisions of services;

                  f.      Ordering that Defendant conduct regular computer system scanning and

           security checks;

                  g.      Ordering that Defendant routinely and continually conduct internal

           training and education to inform internal security personnel how to identify and contain a

           breach when it occurs and what to do in response to a breach; and




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                  h.      Ordering Defendant to meaningfully educate its current, former, and

           prospective customers about the threats they face as a result of the loss of their Personally

           Identifiable Information to third parties, as well as the steps they must take to protect

           themselves.

                                       REQUEST FOR RELIEF

           WHEREFORE, Plaintiff and Class Members demand judgment as follows:

           A.     Certification of the action as a Class Action Pursuant to Federal Rule of Civil

Procedure 23, and appointment of Plaintiff as Class Representative and his counsel of record as

Class Counsel;

           B.     That acts alleged herein be adjudged and decreed to constitute negligence and

violations of the consumer protection laws of New Jersey and Michigan;

           C.     A judgment against Defendant for the damages sustained by Plaintiff and the

Classes defined herein, and for any additional damages, penalties, and other monetary relief

provided by applicable law;

           D.     An order providing injunctive and other equitable relief as necessary to protect the

interests of the Classes, including, but not limited to:

                  1.      Ordering that Defendant engage third-party security auditors/penetration

                          testers as well as internal security personnel to conduct testing, including

                          simulated attacks, penetration tests, and audits on Defendant’s systems on

                          a periodic basis, and ordering Defendant to promptly correct any problems

                          or issues detected by such third-party security auditors;

                  2.      Ordering that Defendant engage third-party security auditors and internal

                          personnel to run automated security monitoring;




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                3.     Ordering that Defendant audit, test, and train its security personnel

                       regarding any new or modified procedures;

                4.     Ordering that Defendant segment consumer data by, among other things,

                       creating firewalls and access controls so that if one area of Defendant’s

                       systems is compromised, unauthorized third parties cannot gain access to

                       other portions of Defendant’s systems;

                5.     Ordering that Defendant purge, delete, and destroy in a reasonably secure

                       manner consumer data not necessary for their provisions of services;

                6.     Ordering that Defendant conduct regular database scanning and securing

                       checks; and

                7.     Ordering that Defendant routinely and continually conduct internal

                       training and education to inform internal security personnel how to

                       identify and contain a breach when it occurs and what to do in response to

                       a breach.

           E.   By awarding Plaintiff and Class Members pre-judgment and post-judgment

interest as provided by law, and that such interest be awarded at the highest legal rate from and

after the date of service of the Complaint in this action;

           F.   The costs of this suit, including reasonable attorney fees; and

           G.   Such other and further relief as the Court deems just and proper.




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                                      JURY TRIAL DEMANDED

           Plaintiff, individually and on behalf of all those similarly situated, hereby requests a jury

trial, pursuant to Federal Rule of Civil Procedure 38, on any and all claims so triable.



                                         LITE DEPALMA GREENBERG & AFANADOR, LLC

Dated: September 23, 2022                /s/ Joseph J. DePalma
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                  CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

           Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy is

related to the following civil actions:

                 Seirafi, et. al v. Samsung Electronics America, Inc., Civil Action No. 4:22-cv-
                  01576 (N.D. Cal.), filed September 10, 2022;

                 Mark v. Samsung Electronics America, Inc., Civil Action No. 1:22-cv-07974
                  (S.D.N.Y.), filed September 19, 2022; and

                 Harmer v. Samsung Electronics America, Inc., Civil Action No. 2:22-cv-01437
                  (D. Nev.), filed September 6, 2022.

           I hereby certify that the following statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.



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Dated: September 23, 2022                /s/ Joseph J. DePalma
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